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$787M.55025
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

CYNTHIA OVERTON,
Plaintiff,
Vv. Docket #1:23-cv-01082
STATE FARM FIRE AND CASUALTY
COMPANY, GLORIA JARVIS, and
RYAN BROWN,

Defendants.

 

MOTION TO DISMISS OF DEFENDANTS, GLORIA JARVIS AND RYAN BROWN

 

Defendants, Gloria Jarvis and Ryan Brown (“these Defendants”), by and through counsel,
pursuant to Rule 12(b)(5) of the Federal Rules of Civil Procedure, move to dismiss Plaintiff's
claims against them for insufficient service of process. In support of this motion, these Defendants
rely on the memorandum of law in support of their motion to dismiss, filed simultaneously with

this motion.
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Respectfully submitted,

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s/R. Kent Francis

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Attorneys for Defendant State Farm Fire and
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CERTIFICATE OF SERVICE

I hereby certify that on the 26" day of May, 2023, a copy of the foregoing pleading has
been delivered to the following by the Court’s electronic filing system (ECF) and email:

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